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                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY

                                                          CIV No.: 2:23-CV-21849-CCC-JRA
       DAVID J. LORENZO,
                                                                           A Civil Action
                              Plaintiff
                                                                              ORDER
       vs.

       THE BOROUGH OF PALISADES
       PARK, NEW JERSEY; CHONG
       PAUL KIM (individually and in his
       official capacity as Mayor of the
       Borough of Palisades Park, New
       Jersey); and SUK “JOHN” MIN
       (Individually and in his official
       capacity as a member of the Borough
       Council of Palisades Park, New Jersey)

                              Defendants.

      I, R. Scott Fahrney, Esq., being of full age, herby certifies as follows:

         1. I am an Attorney at Law of the State of New Jersey, licensed to practice before this Court,

             and am a Partner of the Law Firm of Semeraro & Fahrney, LLC.

         2. The undersigned firm has been assigned by the South Bergen Municipal Insurance Fund to

             represent the Defendants, the Borough of Palisades Park, Chong Paul Kim, and Suk “John”

             Min, (hereinafter referred to as “Defendants”), with regard to the above captioned matter.

         3. As such I am fully familiar with the facts herein.

         4. I make this certification in support of the Defendants’ Motion to Extend Time to respond

             to Plaintiff’s complaint to September 16, 2023, pursuant to Fed. R. Civ. P. 7(b) and L. Civ.

             R. 7(m).


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         5. This matter was initially assigned to my firm on November 27, 2023, with a pending default

             date approaching. Initially, the undersigned filed an application for the clerk’s extension

             to preserve my client’s rights, with the intent that I would obtain documents from the

             Borough to formulate an answer within that time.

         6. At the present time, I am gathering the file from the Municipal Attorney and from the City

             so that I may prepare a responsive pleading, conduct diligent investigations as to the

             Plaintiff’s complaint, and obtain all necessary documents for the defense of my client.

         7. Due to a change in Municpal Attorney that occurred last week, there has been an

             unexpected delay in receiving documents for this matter.

         8. While the Court has granted the Defendants’ Application for a Clerk’s Extension to

             December 15, 2023, it is respectfully requested that the Court grant this extension so that

             the undersigned has an opportunity to retrieve the full file and all documents referenced in

             the complaint, and meet with my clients in order to prepared an appropriate response.

         9. The relief requested in this motion does not impact any other deadlines in this case.

         10. In light of the above, Defendants respectfully request that this Court grant Defendants’ an

             extension of time to answer or otherwise respond to Plaintiffs’ Complaint until January 16,

             2024.

         11. A proposed order is attached hereto.

      I certify under penalty of perjury that the foregoing statements are true and correct.

                                                            Semeraro & Fahrney, LLC
                                                            Attorneys for Defendants


                                                            By:
                                                                    R. Scott Fahrney, Esq.,

      Dated: December 15, 2023

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                                                                                                  #3283112
